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WESTERN DISTRICT OF TENNESSEE 95?“§=”*"5 12 PF~*? ¥= 5

 

 

WESTERN DIVISION
DEWAYNE M. JoNEs JUDGMENT IN A cIvIL cAsE
v.
oFFIcER J. wARD, et al. cAsE No= 04-2916-D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND.ADJUDGED that in accordance with the Order of
Dismissal entered on April 27, 2005, this cause is hereby
dismissed.

APPROVED :

CMMW/v
Bm?lu:cs B.' DoNALD k
ITED s'rATEs nlsTRIc-r coURT

‘7?’?~4 //, alan ' mem R.D\Tnouo
Daté cl l Clerk of Court

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(By) Deputy Clerk

This document entered on the docket sheet in compliance
with mule 55 and/or 79(3) FHCP on 5 ’15'05/

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Dewayne Jones

Shelby County Correction Center
264009

1045 Mullins Station Rd.
Memphis7 TN 38134

Honorable Bernice Donald
US DISTRICT COURT

